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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION




UNITED STATES OF AMERICA,



vs.
                                                       CASE NO. 8:08-CR-126-T-17-TBM




ABRAM THOMPSON



                                              ORDER


        This cause comes before the Court on the defendant's motion for new trial (Docket No.

 165) and response (Docket No. 176). The Court tried this case and has previously considered the

issues raised by the defendant based on the arguments made during the trial. The Court finds that
 its previous ruling were appropriate and finds no basis of awarding the defendant a new trial.

 Accordingly, it is.



         ORDERED that defendant's motion for new trial (Docket No. 165) be denied.



         DONE AND ORDERED in Chambers in Tampa, Florida thi                        f January, 2009.




                                               United States District



 Copies furnished to: All Counsel of Record
